Case 2:18-cv-05741-DMG-PLA Document 271-3 Filed 10/02/20 Page 1 of 10 Page ID
                                 #:9451


 1
 2
 3
 4
 5
 6
 7
 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10                               WESTERN DIVISION
11
     LUCAS R., et al.,                   Case No. 2:18-CV-05741 DMG PLA
12
                   Plaintiffs,
13                                       [PROPOSED]     ORDER    GRANTING
          v.                             SUMMARY JUDGMENT ON PLAINTIFFS’
14                                       FIRST, SECOND, AND FOURTH CLAIMS
     ALEX AZAR, et al.,                  FOR RELIEF
15
                   Defendants.
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                 [P ROPOSED] ORDER GRANTING P LAINTIFFS’
                                                 MOTION FOR P ARTIAL SUMMARY JUDGMENT
                                                       CASE NO. 2:18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 271-3 Filed 10/02/20 Page 2 of 10 Page ID
                                 #:9452


 1         This matter came on regularly for hearing on the Plaintiffs’ Motion for Partial
 2   Summary Judgment on the First, Second, and Fourth claims for relief of Plaintiffs’ First
 3   Amended Complaint, and on Defendants’ Cross-Motion for Partial Summary
 4   Judgment. The Court has considered the briefs, evidence, and argument submitted by
 5   Plaintiffs and Defendants.
 6         Upon due consideration, the Court hereby GRANTS Plaintiffs’ Motion for
 7   Partial Summary Judgment.
 8         Defendants’ Cross-Motion for Partial Summary Judgment is hereby DENIED.
 9         The Court further finds that entry of a permanent injunction is warranted here.
10   Plaintiffs will suffer irreparable injury in the absence of an injunction. Plaintiffs’
11   unnecessary deprivation of liberty clearly constitutes irreparable harm. The harm
12   caused by unlawful detention without adequate process is particularly severe given that
13   Class Members are unaccompanied minor children, detained for prolonged periods of
14   time, some in jail-like conditions separated from their families. “Courts in this and other
15   jurisdictions have found that deprivations of physical liberty are the sort of actual and
16   imminent injuries that constitute irreparable harm” and “have likewise recognized that
17   the ‘major hardship posed by needless prolonged detention’ is a form of irreparable
18   harm.” Garcia Ramirez v. ICE --- F. Supp. 3d ---, 2020 WL 3604041, 148 (D.D.C. July
19   2, 2020) (citing Seretse-Khama v. Ashcroft, 215 F. Supp. 2d 37, 53 n.20 (D.D.C.
20   2002)); R.I.L-R v, Johnson, 80 F. Supp. 3d 164, 191 (D.D.C. 2015); see also Saravia v.
21   Sessions, 905 F.3d 1137, 1143 (9th Cir. 2018); Padilla v. Immigration & Customs Enf't,
22   953 F.3d 1134, 1147-48 (9th Cir. 2020). Nor are money damages an option in this
23   case. Finally, given the substantiality of the interests involved, and the minimal burden
24   that would be imposed on the government to revise its policies and procedures, a
25   permanent injunction would not hurt the public interest, but instead promote it; the
26   balance therefore tips significantly in Plaintiffs’ favor. Melendres v. Arpaio, 695 F.3d
27   990, 1002 (9th Cir. 2012) (“[I]t is always in the public interest to prevent the violation
28   of a party’s constitutional rights.”) (internal quotation marks and citation omitted).
                                                         [P ROPOSED] ORDER GRANTING P LAINTIFFS’
                                                2.       MOTION FOR P ARTIAL SUMMARY JUDGMENT
                                                               CASE NO. 2:18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 271-3 Filed 10/02/20 Page 3 of 10 Page ID
                                 #:9453


 1         For the reasons set forth in this Court’s separate findings of fact and conclusions
 2   of law, IT IS HEREBY ORDERED as follows:
 3         The following Class Members are granted injunctive relief under this Order: All
 4   minors in ORR custody pursuant to 6 U.S.C. § 279 and/or 8 U.S.C. § 1232 —
 5              • whom ORR is refusing or will refuse to release to parents or other available
                  custodians within 30 days of the proposed custodian’s submission of a
 6                complete family reunification packet on the ground that the proposed
                  custodian is or may be unfit (i.e., the “unfit custodian class”);
 7
                • who are or will be placed in a secure facility, medium-secure facility, or
 8                RTC, or whom ORR has continued to detain in any such facility for more
                  than 30 days, without being afforded notice and an opportunity to be heard
 9                before a neutral and detached decision maker regarding the grounds for
                  such placement (i.e., the “step-up class”); and
10
                • who are natives of non-contiguous countries and to whom ORR is
11                impeding or will impede legal assistance in legal matters or proceedings
                  involving their custody, placement, release, and/or administration of
12                psychotropic drugs (i.e., the “legal representation class”).
13
14                                         Unfit Custodian Class
15         With respect to Plaintiffs’ first claim for relief (“unfit custodian class”),
16   Plaintiffs’ Motion for Partial Summary Judgment is hereby GRANTED. Defendants’
17   policies and practices regarding custodial vetting violate 8 U.S.C. § 1232(c)(2), the
18   Flores Settlement Agreement, 5 U.S.C. §§ 706 (1), (2)(A), (2)(B), and the Due Process
19   Clause of the Fifth Amendment to the United States Constitution and on these grounds
20   are declared unlawful. Class Members have rights to due process and to freedom from
21   detention and familial association.
22         The Office of Refugee Resettlement (“ORR”), their agents, employees, grantees,
23   assigns, and all those acting in concert are enjoined as follows:
24         1.      Upon ORR’s determining that a Class Member’s proposed custodian is
                   unfit to receive the Class Member, or failing to decide within thirty (30)
25                 days following submission of a family reunification application (“FRA”)
                   whether a Class Member’s proposed custodian is fit to receive the Class
26                 Member, ORR shall promptly provide the Class Member and proposed
                   custodian a notice meeting the requirements of ¶ 2 of this Order, and within
27                 seven (7) calendar days of providing such notice, shall afford the Class
                   Member a hearing on the proposed custodian’s fitness unless the Class
28                 Member or proposed custodian requests additional time. Such hearing
                                                         [P ROPOSED] ORDER GRANTING P LAINTIFFS’
                                                3.       MOTION FOR P ARTIAL SUMMARY JUDGMENT
                                                               CASE NO. 2:18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 271-3 Filed 10/02/20 Page 4 of 10 Page ID
                                 #:9454


 1             shall conform to the requirements of 5 U.S.C. §§ 554–557, and shall also
               afford the supplemental procedures described in ¶¶ 2–3 of this Order.
 2
         2.    The notice shall provide the following information in a language the minor
 3             understands:
 4             a.    The time, date, and location of the hearing regarding the fitness of
                     the Class Member’s proposed custodian to receive the Class
 5                   Member (the “Hearing”);
 6             b.    ORR’s reason(s) for deeming the proposed custodian unfit, or for
                     having failed to decide whether the proposed custodian is fit;
 7
               c.    The evidence and information that ORR contends supports its
 8                   decision or failure to reach a decision regarding the proposed
                     custodian’s fitness;
 9
               d.    Instructions on how to obtain the minor’s complete case file (which
10                   ORR shall provide immediately upon request);
11             e.    Notice that the minor or potential sponsor may (but is not required
                     to) submit additional evidence, including witness testimony, in
12                   support of the FRA at or before the Hearing; and
13             f.    Notice to the minor that he or she may be represented by retained or
                     pro bono counsel to represent them and their sponsor and provide
14                   the Class Member with the list of pro bono legal services maintained
                     in accordance with 8 C.F.R. §§ 1003.61 et seq. ORR shall facilitate
15                   phone access for any child who indicates she or he wishes to contact
                     an attorney or legal services provider.
16
         3.    The Hearing shall afford the following procedures:
17
               a.    The Hearing shall be conducted before a neutral factfinder with
18                   available translator(s) in the minor’s and proposed sponsor’s native
                     language;
19
               b.    The minor and their sponsor shall have the right to counsel in the
20                   Hearing. Counsel may be provided from the legal service provider
                     contracted to provide services at the facility, or from the list of pro
21                   bono counsel provided to the minor in the Notice pursuant to ¶ 2f,
                     or the minor may retain counsel;
22
               c.    The neutral factfinder shall hear and consider the evidence and ORR
23                   shall bear the burden of production and the burden of proof by clear
                     and convincing evidence to prove that the minor’s proposed sponsor
24                   is unfit and that continued ORR custody is the least restrictive
                     setting that is in the best interest of the child; and
25
               d.    Within two (2) business days of the Hearing, the neutral factfinder
26                   shall issue a written decision in a language the Class Member
                     understands, either ordering release to the proposed sponsor or
27                   denying the release of the minor to the proposed sponsor. If the
                     neutral factfinder denies the FRA, the neutral factfinder’s decision
28                   must set forth detailed, specific, and individualized reasoning for the
                                                     [P ROPOSED] ORDER GRANTING P LAINTIFFS’
                                            4.       MOTION FOR P ARTIAL SUMMARY JUDGMENT
                                                           CASE NO. 2:18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 271-3 Filed 10/02/20 Page 5 of 10 Page ID
                                 #:9455


 1                      denial. The decision shall also include a notification to the minor,
                        their proposed sponsor, the minor’s and the sponsor’s attorney(s) (as
 2                      applicable), and any Child Advocate assigned under 8 U.S.C.
                        § 1232(c)(6) (if any) that they may appeal to U.S. District Court.
 3
           4.     This Order shall be implemented within six (6) months from the date of
 4                the Order. The Defendants will provide reporting to Class Counsel
                  beginning six (6) months from the date of this Order regarding the
 5                Hearings and notice described in this Order. Class Counsel shall have the
                  right to monitor the Hearings and meet with Class Members to monitor
 6                compliance, and Defendants shall provide monthly reports to Class
                  Counsel, including the name, Alien Number, and date of birth for each
 7                Class Member and proposed sponsor who are the subjects of any Hearings,
                  and all written decisions of any Hearings. The notice provided for in this
 8                Order shall be provided to Class Counsel at the same time such Notice is
                  provided to Class Members.
 9
10                                       Step-up Class
11         With respect to Plaintiffs’ second claim for relief (“step-up class”), Plaintiffs’
12   Motion for Partial Summary Judgment is hereby GRANTED. Defendants’ policies and
13   practices that grant broad and unilateral discretion to ORR to “step up” children to
14   restrictive placements violate 8 U.S.C. § 1232(c)(2), the Flores Settlement Agreement,
15   5 U.S.C. §§ 706 (1), (2)(A), (2)(B), and the Due Process Clause of the Fifth Amendment
16   to the United States Constitution and on these grounds are declared unlawful. Class
17   Members have the right to due process and to placement in the least restrictive setting.
18         The court hereby ORDERS that ORR, its agents, employees, grantees, assignees,
19   and all those acting in concert with them be permanently enjoined as follows:
20         5.     ORR shall establish a Placement Review Hearing (“PRH”) for all step-ups
                  with a neutral factfinder and shall conform the PRH requirements to those
21                stated in 5 U.S.C. §§ 554–557, and shall also afford the supplemental
                  procedures described in ¶¶ 6–11 of this Order. Except
22                in exigent circumstances as provided in ¶ 8 below, ORR shall provide a
                  child whom it intends to step-up with written notice of the intended
23                restrictive placement at least seven (7) days prior to transfer.
24         6.     The notice shall provide the following information in a language the minor
                  understands:
25
                  a.    The time, date, and location of the PRH;
26
                  b.    Individualized allegations that ORR alleges support the step up, and
27                      attaching all supporting evidence;
28
                                                        [P ROPOSED] ORDER GRANTING P LAINTIFFS’
                                               5.       MOTION FOR P ARTIAL SUMMARY JUDGMENT
                                                              CASE NO. 2:18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 271-3 Filed 10/02/20 Page 6 of 10 Page ID
                                 #:9456


 1             c.    Instructions on how to obtain the minor’s complete case file (which
                     ORR shall provide immediately upon request);
 2
               d.    Notice to the Class Member of his or her right to contest the
 3                   restrictive placement at the PRH and advise the Class Member that
                     he or she may be represented by retained or pro bono counsel to
 4                   challenge the placement and provide the Class Member with the list
                     of pro bono legal services maintained in accordance with 8 C.F.R.
 5                   §§ 1003.61 et seq. ORR shall facilitate phone access for any child
                     who indicates she or he wishes to contact an attorney or legal
 6                   services provider; and
 7             e.    An explanation of the procedures and rights set out in this Order and
                     notice that the minor may (but is not required to) submit additional
 8                   evidence, including witness testimony on their behalf.
 9       7.    ORR shall also provide notice of restrictive placement described in ¶ 6 to
               the Class Member’s counsel at the same time notice is provided to the
10             minor.
11       8.    ORR may transfer a Class Member to a secure, OON, staff secure,
               therapeutic staff secure, therapeutic group home or RTC placement
12             without prior notice only upon reasonable belief based on clearly
               articulable facts that the Class Member is a present, imminent danger to
13             him or herself or others. Whenever ORR steps up a Class Member without
               prior notice or opportunity to be heard, it shall provide notice as provided
14             in ¶¶ 6–7 within forty-eight (48) hours of the Class Member’s arriving at
               the restrictive placement.
15
         9.    A Class Member whom ORR intends to step up to secure, staff secure,
16             therapeutic staff secure, therapeutic group home, RTC or OON facility
               shall automatically be accorded the opportunity to be heard five (5)
17             business days prior to the step-up and no sooner than seventy-two (72)
               hours after receiving notice of the restrictive placement per ¶ 6 above; or
18             if ORR invokes the exigency exception in ¶ 8, the hearing shall be
               conducted no later than seven (7) days following the transfer to restrictive
19             placement.
20       10.   The PRH shall provide the following:
21             a.    It shall be conducted before a neutral factfinder with available
                     translator(s) in the minor’s native language;
22
               b.    The minor shall have the right to present evidence, including witness
23                   testimony;
24             c.    The minor shall have an opportunity to confront, inspect
                     and rebut the evidence alleged to justify restrictive placement;
25
               d.    The neutral factfinder shall hear and consider the evidence,
26                   including witness testimony, and ORR shall bear the burden of
                     production and the burden of proof by clear and convincing
27                   evidence to prove that the Class Member is a present danger to
                     themselves or others, that a less restrictive placement is not
28                   consistent with the Class Member’s best interest, and the class
                                                      [P ROPOSED] ORDER GRANTING P LAINTIFFS’
                                            6.        MOTION FOR P ARTIAL SUMMARY JUDGMENT
                                                            CASE NO. 2:18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 271-3 Filed 10/02/20 Page 7 of 10 Page ID
                                 #:9457


 1                     member’s current, or other, non-restrictive placement cannot and
                       would not provide services or resources that would allow the class
 2                     member to remain in a less restrictive placement;
 3             e.      ORR shall disclose all evidence supporting restrictive placement no
                       later than five (5) business days prior to the placement review
 4                     hearing;
 5             f.      Class members shall have the right to counsel;
 6             g.      The hearing officer shall issue a written decision, in a language the
                       Class Member understands, within two (2) business days of the
 7                     PRH setting forth detailed, specific, and individualized reasoning
                       for the decision. The decision shall notify the Class Member of their
 8                     automatic right to periodic 30-day hearings as described in ¶ 11 and
                       right to challenge the decision in a U.S. District Court; and
 9
               h.      The proceedings under this section or ¶ 11 shall be separate and
10                     apart from the Alien File, and shall form no part and shall not be
                       relied upon in any deportation or removal hearing or any
11                     USCIS adjudication, including but not limited to final decisions and
                       discretionary factors.
12
         11.   Periodic hearings reviewing restrictive placement:
13
                    a. The periodic hearings shall automatically and periodically review
14                     the placement of a Class Member in a secure, staff
                       secure, therapeutic staff-secure, therapeutic group home, RTC, or
15                     OON facility after the Class Member has been in any restrictive
                       placement for thirty (30) calendar days;
16
                    b. All periodic hearings shall be conducted in accordance with the
17                     procedures prescribed in ¶ 10 for initial placement review;
18                  c. A 30-day hearing of a placement in an RTC or OON shall include a
                       detailed and specific review prepared by a qualified, licensed
19                     psychologist or psychiatrist of the mental health needs of a class
                       member ("30-day review report"). This shall include a list of the
20                     child’s current diagnoses, all medication prescribed, reasons for
                       prescription, type of therapeutic interventions being provided and
21                     the date and time of therapeutic sessions over the preceding thirty
                       (30) days, an assessment of whether the child continues to be a
22                     danger to themselves or others, and an explanation of any and
                       all reasons for continued placement in an RTC or OON. This shall
23                     also include an explanation of why a non-restrictive placement
                       cannot and would not provide services or resources that would
24                     allow the class member to be detained in a less restrictive; and
25                  d. Periodic hearings of secure placement shall include
                       detailed, specific and individualized reasoning for continued
26                     restrictive placement.
27       12.   ORR’s step up of a child shall not operate to delay family reunification and
               ORR shall not refuse to transfer a child to a long-term foster care or other
28             sponsor due solely to a child’s classification in a restrictive
                                                      [P ROPOSED] ORDER GRANTING P LAINTIFFS’
                                             7.       MOTION FOR P ARTIAL SUMMARY JUDGMENT
                                                            CASE NO. 2:18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 271-3 Filed 10/02/20 Page 8 of 10 Page ID
                                 #:9458


 1                placement. This includes, but is not limited to, any policy or
                  practice requiring good behavior or receipt of no Significant Incident
 2                Reports for a certain time period before a step down to a less restrictive
                  placement or release to a sponsor.
 3
           13.    This Order shall be implemented within six (6) months from the date of
 4                the Order. In compliance with this Order, the Defendants
                  will provide reporting to Class Counsel beginning six (6) months from the
 5                date of the Order regarding the hearings and notice described in this Order.
                  Class Counsel shall have the right to monitor the hearings and meet with
 6                Class Members to monitor compliance, and Defendants shall
                  provide additional monthly reports including:
 7
                  a.    The name, Alien Number, date of birth, notice of step-up, and
 8                      location and destination of the Class Member being transferred to a
                        secure, staff secure, OON, or RTC facility;
 9
                  b.    Notice of the PRH and periodic hearings, the name and Alien
10                      number of the minor who is the subject of the hearing, and the time,
                        date, and location of the hearings, and all hearing decisions and 30-
11                      day review reports; and
12                c.    The notice provided in this Order in ¶ 6 shall be provided to counsel
                        at the same time notice is provided to Class Members.
13
14                                Legal Representation Class
15         With respect to Plaintiffs’ fourth claim for relief, Plaintiffs’ Motion for Partial
16   Summary Judgment is hereby GRANTED. Defendants’ policy and practice to grant
17   Case Managers, Case Coordinators, and Federal Field Specialists broad discretion to
18   refuse detained children’s legal representatives reasonable opportunity to advocate on
19   children’s behalf with respect to release, placement, or the administration of
20   psychotropic medications violates 8 U.S.C. § 1232(c)(5), 5 U.S.C. §§ 706 (1),
21   (2)(A), (2)(B), and the Due Process Clause of the Fifth Amendment to the United States
22   Constitution, and on that ground are declared unlawful. Class Members have the right
23   to effective legal representation, including representation with respect to placement, the
24   conditions of their placement, release or reunification, step-up or step-down in
25   placement, and access to health services.
26         Furthermore, Defendants’ policy and practice to prohibit legal representatives
27   from using funds appropriated in furtherance of 8 U.S.C. § 1232(c)(5) to represent
28   detained children with respect to release, placement, or the administration of
                                                         [P ROPOSED] ORDER GRANTING P LAINTIFFS’
                                                 8.      MOTION FOR P ARTIAL SUMMARY JUDGMENT
                                                               CASE NO. 2:18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 271-3 Filed 10/02/20 Page 9 of 10 Page ID
                                 #:9459


 1   psychotropic medications are contrary to 8 U.S.C. § 1232(c)(5), and on that ground are
 2   declared unlawful.
 3         Defendants are accordingly permanently enjoined as follows:
 4         14.   ORR shall ensure that Class Members’ legal representatives have prompt,
                 reasonable and regular direct communication with Case Managers, Case
 5               Coordinators, and FFSs overseeing their clients’ placement, release or
                 reunification, step-up, step-down, and/or taking of psychotropic drugs.
 6
           15.   Upon request, ORR shall promptly provide Class Members’ legal
 7               representatives with the name and telephone number of all potential
                 sponsors for their client. Notwithstanding the foregoing —
 8
                 a.       Potential sponsors who assert they are United States citizens or
 9                        lawful permanent resident aliens may instruct ORR to withhold their
                          names and other information from Class Members’ legal
10                        representatives;
11               b.       ORR may, on a limited basis and only for an attorney’s
                          representation of a specific Class Member, withhold potential
12                        sponsors’ names and telephone numbers upon a good faith belief
                          based on articulable facts that a Class Member’s legal representative
13                        will use such information to unreasonably obstruct or delay the
                          Class Member’s release or reunification. In the event ORR
14                        determines to withhold potential sponsors’ names and telephone
                          numbers from a Class Member’s legal representative, it shall
15                        promptly advise the Class Member’s legal representative of the
                          reasons for such non-disclosure. The attorney shall have the right
16                        to seek reconsideration from the FFS, and the FFS shall respond to
                          the attorney with the basis for the determination within seven (7)
17                        calendar days; and
18               c.       Absent a reasonable belief based upon articulable facts that doing so
                          would endanger a Class Member, ORR shall, within seven (7) days
19                        of request, permit Class Members’ legal representative to review
                          and copy the Class Members’ complete ORR file. In the event ORR
20                        refuses to allow a Class Member’s legal counsel to review the Class
                          Member’s complete ORR file, it shall promptly notify the Class
21                        Member’s legal representative what material it is withholding and
                          the reasons for withholding it. The attorney shall have the right to
22                        seek reconsideration of such withholding from the FFS, and the FFS
                          shall respond to the attorney with the basis for the determination
23                        within seven (7) calendar days.
24         16.   ORR is enjoined against prohibiting Class Members’ legal representatives
                 from using funds appropriated in furtherance of 8 U.S.C. § 1232(c)(5) to
25               represent them with respect to release, placement, or the administration of
                 psychotropic medications.
26
27
28
                                                         [P ROPOSED] ORDER GRANTING P LAINTIFFS’
                                                9.       MOTION FOR P ARTIAL SUMMARY JUDGMENT
                                                               CASE NO. 2:18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 271-3 Filed 10/02/20 Page 10 of 10 Page ID
                                  #:9460


 1        IT IS SO ORDERED.
 2
     DATED: ______________, 2020      ________________________________
 3                                    DOLLY M. GEE
                                      UNITED STATES DISTRICT COURT JUDGE
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                 [P ROPOSED] ORDER GRANTING P LAINTIFFS’
                                        10.      MOTION FOR P ARTIAL SUMMARY JUDGMENT
                                                       CASE NO. 2:18-CV-05741 DMG PLA
